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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-744V
                                        UNPUBLISHED


 AS, by her mother, PATRICIA                                 Chief Special Master Corcoran
 TAYLOR,
                                                             Filed: November 8, 2019
                        Petitioner,
 v.                                                          Special Processing Unit (SPU);
                                                             Ruling on Entitlement; Concession;
 SECRETARY OF HEALTH AND                                     Table Injury; Influenza (Flu) Vaccine;
 HUMAN SERVICES,                                             Guillain-Barre Syndrome (GBS)

                        Respondent.


Michael Adly Baseluos, Baseluos Law Firm, PLLC, San Antonio, TX, for petitioner.
Kyle Edward Pozza, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

       On May 20, 2019, Patricia Taylor filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”) on behalf of AS, a minor child. Petitioner alleges that AS’s October 14,
2017 influneza (“flu”) vaccination caused her to suffer Guillain-Barre Syndrome (“GBS”).
Petition at 1. The case was assigned to the Special Processing Unit of the Office of
Special Masters.

      On October 31, 2019, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, respondent indicates that


1 I intend to post this decision on the United States Court of Federal Claims' website. This means the

decision will be available to anyone with access to the internet. In accordance with Vaccine Rule
18(b), petitioner has 14 days to identify and move to redact medical or other information, the disclosure of
which would constitute an unwarranted invasion of privacy. If, upon review, I agree that the identified
material fits within this definition, I will redact such material from public access. Because this unpublished
decision contains a reasoned explanation for the action in this case, I am required to post it on the United
States Court of Federal Claims' website in accordance with the E-Government Act of 2002. 44 U.S.C. §
3501 note (2012) (Federal Management and Promotion of Electronic Government Services).

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for

ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       [m]edical personnel at DICP have reviewed the petition and medical
       record evidence filed in this case. It is respondent’s position that petitioner
       has satisfied the criteria set forth in the Table and the Qualifications and
       Aids to Interpretation (“QAI”). See 42 C.F.R. §§ 100.3(a)(XIV),
       100.3(c)(15).

Id. at 6-7.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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